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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                          CASE NO. 21-80561-CIV-CANNON/Reinhart

  GLOBAL RESOURCE, INC.,

          Plaintiff,
  v.

  MARIO D. GERMAN
  LAW CENTER, P.A., et al.,

          Defendants.
                                        /

                         ORDER DISMISSING PLAINTIFF’S CLAIMS
                        AGAINST DEFENDANTS MARIO D. GERMAN
                        AND MARIO D. GERMAN LAW CENTER, P.A.

          THIS CAUSE comes before the Court upon the parties’ Amended Stipulation of Partial

  Dismissal with Prejudice [ECF No. 56], filed on January 27, 2022. Pursuant to the stipulation of

  the parties under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is ORDERED and

  ADJUDGED as follows:

       1. Plaintiff’s claims against Defendants Mario D. German and Mario D. German Law Center,

          P.A. are DISMISSED WITH PREJUDICE, effective January 27, 2022, the date on which

          the parties filed the Joint Stipulation of Dismissal [ECF No. 56].

       2. The Clerk of Court shall TERMINATE Mario D. German and Mario D. German Law

          Center, P.A. as defendants in this matter.

       3. Defendants Mario D. German and Mario D. German Law Center, P.A.’s Motion for

          Summary Judgment [ECF No. 49] is DENIED AS MOOT.

       4. This action remains OPEN as to all other defendants.
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        5. Plaintiff may file a motion for default final judgment as to Defendants Nexus Capital

           Management, LLC and Michael Krantz on or before February 11, 2022. Any such motion

           shall comply with the Court’s Order Establishing Default Final Judgment Procedure

           [ECF No. 34].

           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 28th day of January

  2022.



                                                      _____________________________
                                                      AILEEN M. CANNON
                                                      UNITED STATES DISTRICT JUDGE
  cc:      counsel of record




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